     4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 1 of 10 - Page ID # 35




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
     ________________________________________________________________________

Legal Aid of Nebraska, Inc.        )   Case No. 4:19-cv-03103-CRZ
                                   )   Judge Cheryl R. Zwart
                     Plaintiff,    )
                                   )
v.                                 )
                                   )
Chaina Wholesale, Inc., d/b/a      )
Deluxe Import and                  )
Amazon.com, Inc.                   )
                     Defendants.   )


     PLAINTIFF LEGAL AID OF NEBRASKA, INC.’S BRIEF IN OPPOSITION
     TO DEFENDANT AMAZON.COM INC’S MOTION TO DISMISS UNDER
                            RULE 12(b)(6)




                                         1
      4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 2 of 10 - Page ID # 36




                               TABLE OF CONTENTS

I.       INTRODUCTION………………………………………………………

II.      DOCUMENTS RELIED UPON ……………………………………….

III.     PLAINTIFF’S ALLEGATIONS………………………………………...

IV.      LEGAL STANDARD…………………………………………………..

V.       ARGUMENT……………………………………………………………

         (1)   Plaintiff pled sufficient facts to support a claim
               of breach of duty by Amazon……………………………………

         (2)   Plaintiff pled sufficient facts to support a claim
               of breach of duty to warn by Amazon…………….……………………..

         (3)   Plaintiff pled facts sufficient to support a claim
               of breach of warranty by Amazon………………………………

VI.      CONCLUSION …………………………………………………………




                                          2
  4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 3 of 10 - Page ID # 37




                                   INTRODUCTION


      Plaintiff Legal Aid of Nebraska, Inc.’s (“Legal Aid”) alleges that a DLux portable

heater (“heater”) sold by Defendants was defective and caused a fire resulting in property

damage. Defendant Amazon.com Inc. (“Amazon”) seeks to dismiss such action for three

reasons:

      (1) Legal Aid has failed to plead sufficient facts to state a claim of breach of duty
      because the allegation that Amazon knew or should have known that the heater
      was a combustion risk due to customer complaints and media reports lacks
      sufficient detail. Legal Aid disagrees, but provides herewith a copy of the
      consumer complaints and if ordered by the Court will submit an Amended
      Complaint with additional detail.

      (2) Legal Aid has failed to plead sufficient facts to state a claim of breach of duty
      to warn because again Legal Aid failed to allege details regarding consumer
      complaints that the heater was a combustion risk. Legal Aid responds that the
      Complaint also alleged that Amazon stated that the heater had “overheat
      protection” and a “plastic housing which stays room temperature to the touch” and
      that these statements were in fact incorrect and no related warning given.

      (3) Legal Aid has failed to plead sufficient facts to support warranty claims
      because Legal Aid did not refer to Amazon as a seller nor were express warranty
      or a particular purpose alleged. Legal Aid disagrees. Legal Aid repeatedly alleged
      Amazon was a seller and Legal Aid alleged that the heater had a particular purpose
      of safety related to Amazon’s specific warranty that the heater had “overheat
      protection” and a “plastic housing which stays room temperature to the touch.”

      For these reasons and as more fully set forth below, Amazon’s motion must be

denied.




                                             3
4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 4 of 10 - Page ID # 38




                        DOCUMENTS RELIED UPON

   1.    Exhibit 1 – Amazon DLux Heater Customer Review Web Pages

   2.    Affidavit of Paralegal M. Brewer with attached Ex. 1

   (Legal Aid also relies upon documents which are already part of the ECF record as
   identified below.)

                           STATEMENT OF FACT

   In its Complaint, Legal Aid alleged:

   13. That the DLux Infrared Quarts Space Heater distributed and sold by Chaina
   through Amazon.com did not meet minimum design requirements that would
   allow the heater to operate safely. Despite the Amazon website stating that the
   DLux Infrared Quarts Space Heater had “overheat protection” and a “plastic
   housing which stays room temperature to the touch,” these statements were
   incorrect. Lab testing found that the DLux Infrared Quarts Space Heater had no
   overheat protection and its plastic housing did not remain at room temperature
   during the Space Heater’s operation. Specifically, it was found that the Space
   Heater’s enclosure construction was not adequate, the Space Heater reached
   temperatures which damaged the materials of the Space Heater, and it contained
   no temperature limiting controls such as a thermal cut-out or a high limit
   thermostat in the heater circuit. Additionally, no warnings were present on the
   Space Heater housing or line cord or anywhere on the Amazon website or
   anywhere else, regarding the Space Heater’s operation and attendant risks.
   ****

   19. Chaina distributed and sold the DLux Infrared Quartz Space Heater and
   Amazon promoted, sold, and distributed the Space Heater in a defective condition
   unreasonably dangerous to the consumer and Legal Aid, because the heater was
   defectively designed such that under normal circumstances the heater’s quartz
   element would cause the nearby housing to melt and combust in the area around
   the reflector and front gate and the heater lacked any temperature or thermal
   safety device to prevent resulting combustion. The heater was expected to and did
   reach the ultimate consumer without substantial change in the condition in which it
   was sold.
   ****


                                          4
  4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 5 of 10 - Page ID # 39




       21. Chaina and Amazon knew or should have known of the dangerous quality and
       combustion risk propensities of the DLux Infrared Quartz Space Heater given the
       above design flaws and, upon information and belief, consumer complaints and
       media reports.

[ECF 1, ¶¶ 13, 19, 21 Emphasis Added]

       The alleged consumer complaints were found on Amazon’s website page for the

DLux heater and included a complaint which Amazon represented it “verified” from 2015

(the year before the subject heater was purchased) warning that the heater was a fire risk:

       These are Dangerous. They are Melting and so far…
       By James Morris on December 31, 2015
       Verified Purchase
       These are Dangerous. They are Melting and so far 5 out of the 10 I purchased are
       unusable after 2 weeks. PLease Discontinue use if you have one of these. I would
       not want to see anyone lose their life. These are not UL listed and are unsafe.

[Ex. 1]

                                       STANDARD

       The only pleading requirement for a civil complaint is “a short and plain statement

of the claim showing that the pleader is entitled to relief.” Fed.R.Civ.P. 8(a). “Under the

Federal Rules, it is not necessary to plead every fact with formalistic particularity.” BJC

Health Sys. v. Columbia Cas. Co., 348 F.3d 685, 688 (8th Cir.2003). The question for the

court is whether the complaint puts the adverse party on notice as to the substance of the

claim. See id.

       Thus, in considering Amazon’s a motion for dismissal pursuant to Fed R. Civ. P.

12(b)(6), this court must liberally construe Legal Aid’s complaint in the light most


                                             5
  4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 6 of 10 - Page ID # 40




favorable to Legal Aid and must assume that all the facts alleged in the complaint are

true. Schmedding v. Tnemec Co., Inc., 187 F.3d 862, 864 (8th Cir.1999)[Emphasis

Added] A Rule 12(b)(6) motion to dismiss a complaint should not be granted unless it

appears beyond a doubt that the plaintiff can prove no set of facts which would entitle

him to relief. Id. “Nor should a complaint be dismissed merely because it does not state

with precision all elements that give rise to a legal basis for recovery. Thus, as a practical

matter, a dismissal under Rule 12(b)(6) should be granted only in the unusual case in

which a plaintiff includes allegations that show on the face of the complaint that there is

some insuperable bar to relief.” Id. (citations omitted)[Emphasis Added]

                                       ARGUMENT

       (1)    Plaintiff pled sufficient facts to support a claim of
              breach of duty by Amazon.

       Amazon argues that “Plaintiff alleges no facts establishing that Amazon knew or

should have known about any [heater] design flaw. [ECF 7, p.5] Amazon contends that Legal

Aid’s failure to allege the date of the consumer complaint which provided notice to Amazon

that the heater was a combustion risk, means Legal Aid’s claim of negligence based on

breach of duty, must be dismissed. [ECF 7, p.6] Amazon is incorrect.

       As set forth above, the alleged fact that Amazon knew or should have known of the

heater’s combustion risk from consumer complaints must be taken as true for purposes of this

motion. Schmedding v. Tnemec Co., Inc., 187 F.3d 862, 864 (8th Cir.1999). The actual date

of the complaint does not have to be alleged because “it is not necessary to plead every fact

                                              6
  4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 7 of 10 - Page ID # 41




with formalistic particularity.” BJC Health Sys. v. Columbia Cas. Co., 348 F.3d 685, 688 (8th

Cir.2003).

       It is also disingenuous for Amazon to fault Legal Aid for failing to provide details

about consumer complaints on its website when it has control over this evidence and

apparently has taken down the page which contains such complaints. [Brewer Affidavit ¶3]

       Further, it is alleged in the Complaint that Amazon stated on its website that the heater

had “overheat protection” and a “plastic housing which stays room temperature to the touch”

which suggests that Amazon was aware that this type of heater posed combustion risks but it

was trying to assure customers that such risks did not exist in this particular brand of heater

(even though such representation was in fact wrong.) [ECF 1 ¶13]

       Accordingly, Amazon’s motion should be denied.

       (2)    Plaintiff pled sufficient facts to support a claim of
              breach of duty to warn by Amazon.

       Amazon argues that “Plaintiff alleges no facts that Amazon knew or should have

known of a [heater] defect at the time of sale. [ECF 7, p.7] Amazon contends that “unknown

and undated customer reviews” cannot support a warning claim. [Id] Amazon is again

incorrect. For the same reasons as set forth above, the allegation of consumer complaints was

sufficient to support the claim.

       Furthermore, the allegation that Amazon stated that the heater had “overheat

protection” and a “plastic housing which stays room temperature to the touch” [ECF 1 ¶13]

means that Amazon knew or should have known whether this heater posed a combustion risk

                                               7
  4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 8 of 10 - Page ID # 42




since it was representing to consumers that it did not.

       Thus, for this reason also, Amazon’s motion should be denied.

       (3)    Plaintiff pled sufficient facts to support a claim of
              breach of warranties by Amazon.

       Amazon argues that Legal Aid’s warranty claims must be dismissed because Legal

Aid failed to allege four things: 1 -- the elements of such claims, 2 -- a specific express

warranty, 3 -- that Amazon was a seller, and 4 -- a “particular purpose” of the heater. [ECF 7,

p.8-9] Each of these arguments fail.

       First, Legal Aid is not required to allege the elements of each claim in a complaint.

Schmedding v. Tnemec Co., Inc., 187 F.3d 862, 864 (8th Cir.1999) (“Nor should a complaint

be dismissed merely because it does not state with precision all elements that give rise to a

legal basis for recovery.) Indeed, while Amazon has cited authority stating what elements

must be proved at trial for a particular claim, it has not cited any case law which requires the

same in a complaint.

       Second, an express warranty is “a promise about the character of an item made by a

seller…” [Blacks Law Dictionary] Legal Aid alleged that Amazon specifically promised that

the heater had “overheat protection” and a “plastic housing which stays room temperature to

the touch” [ECF 1 ¶13]

       Third, Amazon states that “this motion does not involve the question whether Amazon

is a seller or has any duties that flow from seller status.” [ECF 7, p.4] Yet, Amazon argues

that Plaintiff failed to allege the warranty element that Amazon was a seller of the heater.

                                               8
  4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 9 of 10 - Page ID # 43




[ECF 7, p.8] Regardless of this inconsistency, Legal Aid did allege that Amazon was a seller

in paragraphs: 8, 9, 10, 18 and 24 of the Complaint. [ECF 1] Amazon also cites several cases

where it was found not to be a seller of goods. [ECF 7 p. 4, 8-9] Amazon failed, however, to

cite two recent cases where it was in fact found to be a seller of goods. Oberdorf v.

Amazon.com Inc., 930 F.3d 136, Prod. Liab. Rep. (CCH) P 20652 (3d Cir. 2019), reh'g en

banc granted, opinion vacated, 2019 WL 3979586 (3d Cir. 2019); State Farm Fire and

Casualty Company v. Amazon.com, Inc., 390 F.Supp.3d 964 (W.D.Wis., 2019)

       Fourth, the particular purpose of this product was not just to provide heat but to

provide heat safely because this heater was being used in a commercial office setting, and as

alleged as stated by Amazon on its website, had “overheat protection” and a “plastic housing

which stays room temperature to the touch.” [ECF 1 ¶3, 4, 7, 13]

       Accordingly, for these reasons Amazon’s motion should be denied.

                                     CONCLUSION

       Legal Aid’s Complaint alleged sufficient facts to support the claims therein under

the Federal standard of notice pleading. As such, Amazon’s motion should be denied.

       Alternatively, should the Court find any part of the Complaint insufficient, Legal

Aid suggests that the appropriate remedy is amendment not dismissal.




                                             9
 4:19-cv-03103-JMG-CRZ Doc # 13 Filed: 11/22/19 Page 10 of 10 - Page ID # 44




Dated: November 22, 2019                   YOST & BAILL, L.L.P.
                                          By: s/ Steven Theesfeld
                                          Steven L. Theesfeld (#24635)
                                          Attorney for Plaintiff
                                          2050 US Bank Plaza South
                                          220 South Sixth Street
                                          Minneapolis, MN
                                          (612) 338-6000
                                          stheesfeld@yostbaill.com




                                          CERTIFICATE OF SERVICE

                                          The undersigned hereby certifies that on the

                                          22nd day of November, 2019, I

                                          electronically filed the foregoing with the

                                          Clerk of the Court by using the CM/ECF

                                          system which sent notification of such filing

                                          to all CM/ECF participants.

                                          s/Steven L. Theesfeld




                                     10
